     Case 2:25-cv-05406-GW-MAA       Document 1   Filed 06/13/25   Page 1 of 13 Page ID #:1



       SO. CAL. EQUAL ACCESS GROUP
 1     Jason J. Kim (SBN 190246)
       Jason Yoon (SBN 306137)
 2     101 S. Western Ave., Second Floor
       Los Angeles, CA 90004
 3     Telephone: (213) 205-6560
       cm@SoCalEAG.com
 4
       Attorneys for Plaintiff
 5     JESUS GARCIA
 6
 7                                UNITED STATES DISTRICT COURT
 8                               CENTRAL DISTRICT OF CALIFORNIA
 9
       JESUS GARCIA,                                Case No.:
10
                    Plaintiff,                      COMPLAINT FOR INJUNCTIVE
11                                                  RELIEF AND DAMAGES FOR DENIAL
             vs.                                    OF CIVIL RIGHTS OF A DISABLED
12                                                  PERSON IN VIOLATIONS OF
13                                                  1. AMERICANS WITH DISABILITIES
                                                    ACT, 42 U.S.C. §12131 et seq.;
14     IVAN FORONDA D/B/A EL PESCADOR
       FISH MARKET; LUDMI RUBI DEL                  2. CALIFORNIA’S UNRUH CIVIL
15
       REAL SANCHEZ, AS TRUSTEE OF                  RIGHTS ACT;
16     THE DEL REAL SANCHEZ LIVING                  3. CALIFORNIA’S DISABLED
       TRUST; and DOES 1 to 10,                     PERSONS ACT;
17
                    Defendants.                     4. CALIFORNIA HEALTH & SAFETY
18                                                  CODE;
19                                                  5. NEGLIGENCE
20
21
22
23
24
             Plaintiff JESUS GARCIA (“Plaintiff”) complains of Defendants IVAN
25
       FORONDA D/B/A EL PESCADOR FISH MARKET; LUDMI RUBI DEL REAL
26
       SANCHEZ, AS TRUSTEE OF THE DEL REAL SANCHEZ LIVING TRUST; and
27
       DOES 1 to 10 (“Defendants”) and alleges as follows:
28




                                           COMPLAINT - 1
     Case 2:25-cv-05406-GW-MAA         Document 1     Filed 06/13/25    Page 2 of 13 Page ID #:2




 1                                               PARTIES
 2              1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3     from paraplegia and is substantially limited in his ability to walk. Plaintiff requires the
 4     use of a wheelchair at all times when traveling in public.
 5              2.   Defendants are, or were at the time of the incident, the real property owners,
 6     business operators, lessors and/or lessees of the real property for a fish market
 7     (“Business”) located at or about 7422 Pacific Blvd., Huntington Park, California.
 8              3.   The true names and capacities, whether individual, corporate, associate or
 9     otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10     who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11     Court to amend this Complaint when the true names and capacities have been
12     ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13     fictitiously named Defendants are responsible in some manner, and therefore, liable to
14     Plaintiff for the acts herein alleged.
15              4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16     times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17     Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18     the things alleged herein was acting with the knowledge and consent of the other
19     Defendants and within the course and scope of such agency or employment relationship.
20              5.   Whenever and wherever reference is made in this Complaint to any act or
21     failure to act by a defendant or Defendants, such allegations and references shall also be
22     deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23     and severally.
24                                   JURISDICTION AND VENUE
25              6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26     1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27     seq.).
28




                                                COMPLAINT - 2
     Case 2:25-cv-05406-GW-MAA        Document 1     Filed 06/13/25    Page 3 of 13 Page ID #:3




 1           7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2     arising from the same nucleus of operating facts, are also brought under California law,
 3     including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4     54, 54., 54.3 and 55.
 5           8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6           9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7     property which is the subject of this action is located in this district, Los Angeles County,
 8     California, and that all actions complained of herein take place in this district.
 9                                       FACTUAL ALLEGATIONS
10           10.    In or about March of 2025, Plaintiff went to the Business.
11           11.    The Business is a fish market business establishment, open to the public, and
12     is a place of public accommodation that affects commerce through its operation.
13     Defendants provide parking spaces for customers.
14           12.    While attempting to enter the Business during each visit, Plaintiff personally
15     encountered a number of barriers that interfered with his ability to use and enjoy the
16     goods, services, privileges, and accommodations offered at the Business.
17           13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18     included, but were not limited to, the following:
19                  a.     Defendants failed to comply with the federal and state standards for
20                         the parking space designated for persons with disabilities. Defendants
21                         failed to provide the parking space identification sign with the
22                         International Symbol of Accessibility.
23                  b.     Defendants failed to comply with the federal and state standards for
24                         the parking space designated for persons with disabilities. Defendants
25                         failed to post required signage such as “Van Accessible,” “Minimum
26                         Fine $250” and “Unauthorized Parking.”
27                  c.     Defendants failed to maintain the parking space designated for
28                         persons with disabilities to comply with the federal and state



                                              COMPLAINT - 3
     Case 2:25-cv-05406-GW-MAA        Document 1      Filed 06/13/25   Page 4 of 13 Page ID #:4




 1                         standards. Defendants failed to maintain the mark on the space with
 2                         the International Symbol of Accessibility, resulting in the paint
 3                         becoming severely deteriorated, hindering visibility.
 4                  d.     Defendants failed to maintain the parking space designated for
 5                         persons with disabilities to comply with the federal and state
 6                         standards. Defendants failed to maintain the paint on the ground as
 7                         required, resulting in the markings becoming severely deteriorated,
 8                         hindering visibility.
 9                  e.     Defendants failed to comply with the federal and state standards for
10                         the parking space designated for persons with disabilities. Defendants
11                         failed to provide an access aisle with level surface slope.
12           14.    These barriers and conditions denied Plaintiff full and equal access to the
13     Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
14     patronize the Business; however, Plaintiff is deterred from visiting the Business because
15     his knowledge of these violations prevents him from returning until the barriers are
16     removed.
17           15.    Based on the violations, Plaintiff alleges, on information and belief, that
18     there are additional barriers to accessibility at the Business after further site inspection.
19     Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
20     Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
21           16.    In addition, Plaintiff alleges, on information and belief, that Defendants
22     knew that particular barriers render the Business inaccessible, violate state and federal
23     law, and interfere with access for the physically disabled.
24           17.    At all relevant times, Defendants had and still have control and dominion
25     over the conditions at this location and had and still have the financial resources to
26     remove these barriers without much difficulty or expenses to make the Business
27     accessible to the physically disabled in compliance with ADDAG and Title 24
28




                                              COMPLAINT - 4
     Case 2:25-cv-05406-GW-MAA         Document 1   Filed 06/13/25    Page 5 of 13 Page ID #:5




 1     regulations. Defendants have not removed such barriers and have not modified the
 2     Business to conform to accessibility regulations.
 3                                       FIRST CAUSE OF ACTION
 4            VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 5           18.    Plaintiff incorporates by reference each of the allegations in all prior
 6     paragraphs in this complaint.
 7           19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 8     shall be discriminated against on the basis of disability in the full and equal enjoyment of
 9     the goods, services, facilities, privileges, advantages, or accommodations of any place of
10     public accommodation by any person who owns, leases, or leases to, or operates a place
11     of public accommodation. See 42 U.S.C. § 12182(a).
12           20.    Discrimination, inter alia, includes:
13                  a.    A failure to make reasonable modification in policies, practices, or
14                        procedures, when such modifications are necessary to afford such
15                        goods, services, facilities, privileges, advantages, or accommodations
16                        to individuals with disabilities, unless the entity can demonstrate that
17                        making such modifications would fundamentally alter the nature of
18                        such goods, services, facilities, privileges, advantages, or
19                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
20                  b.    A failure to take such steps as may be necessary to ensure that no
21                        individual with a disability is excluded, denied services, segregated or
22                        otherwise treated differently than other individuals because of the
23                        absence of auxiliary aids and services, unless the entity can
24                        demonstrate that taking such steps would fundamentally alter the
25                        nature of the good, service, facility, privilege, advantage, or
26                        accommodation being offered or would result in an undue burden. 42
27                        U.S.C. § 12182(b)(2)(A)(iii).
28




                                             COMPLAINT - 5
     Case 2:25-cv-05406-GW-MAA        Document 1      Filed 06/13/25   Page 6 of 13 Page ID #:6




 1                  c.     A failure to remove architectural barriers, and communication barriers
 2                         that are structural in nature, in existing facilities, and transportation
 3                         barriers in existing vehicles and rail passenger cars used by an
 4                         establishment for transporting individuals (not including barriers that
 5                         can only be removed through the retrofitting of vehicles or rail
 6                         passenger cars by the installation of a hydraulic or other lift), where
 7                         such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 8                  d.     A failure to make alterations in such a manner that, to the maximum
 9                         extent feasible, the altered portions of the facility are readily
10                         accessible to and usable by individuals with disabilities, including
11                         individuals who use wheelchairs or to ensure that, to the maximum
12                         extent feasible, the path of travel to the altered area and the
13                         bathrooms, telephones, and drinking fountains serving the altered
14                         area, are readily accessible to and usable by individuals with
15                         disabilities where such alterations to the path or travel or the
16                         bathrooms, telephones, and drinking fountains serving the altered area
17                         are not disproportionate to the overall alterations in terms of cost and
18                         scope. 42 U.S.C. § 12183(a)(2).
19           21.    Where parking spaces are provided, accessible parking spaces shall be
20     provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
21     eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
22     (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
23     Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
24     be a van accessible parking space. 2010 ADA Standards § 208.2.4.
25           22.    Under the ADA, the method and color of marking are to be addressed by
26     State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
27     Building Code (“CBC”), the parking space identification signs shall include the
28     International Symbol of Accessibility. Parking identification signs shall be reflectorized



                                              COMPLAINT - 6
     Case 2:25-cv-05406-GW-MAA       Document 1     Filed 06/13/25   Page 7 of 13 Page ID #:7




 1     with a minimum area of 70 square inches. Additional language or an additional sign
 2     below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 3     parking space identification sign shall be permanently posted immediately adjacent and
 4     visible from each parking space, shall be located with its centerline a maximum of 12
 5     inches from the centerline of the parking space and may be posted on a wall at the
 6     interior end of the parking space. See CBC § 11B-502.6, et seq.
 7           23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 8     each entrance to an off-street parking facility or immediately adjacent to on-site
 9     accessible parking and visible from each parking space. The additional sign shall not be
10     less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
11     letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
12     designated accessible spaces not displaying distinguishing placards or special license
13     plates issued for persons with disabilities will be towed away at the owner’s expense…”
14     See CBC § 11B-502.8, et seq.
15           24.    Here, Defendants failed to provide the parking space identification sign with
16     the International Symbol of Accessibility. In addition, Defendants failed to provide the
17     signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
18     to provide the additional sign with the specific language stating “Unauthorized vehicles
19     parked in designated accessible spaces not displaying distinguishing placards or special
20     license plates issued for persons with disabilities will be towed away at the owner’s
21     expense…”
22           25.    For the parking spaces, access aisles shall be marked with a blue painted
23     borderline around their perimeter. The area within the blue borderlines shall be marked
24     with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
25     with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
26     be painted on the surface within each access aisle in white letters a minimum of 12 inches
27     (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
28     11B-502.3.3.



                                             COMPLAINT - 7
     Case 2:25-cv-05406-GW-MAA        Document 1    Filed 06/13/25   Page 8 of 13 Page ID #:8




 1           26.    Here, Defendants failed to provide a proper access aisle as the “NO
 2     PARKING” markings, blue borderlines, and blue hatched lines painted on the parking
 3     surface were poorly maintained, resulting in the markings becoming severely
 4     deteriorated, hindering visibility.
 5           27.    The surface of each accessible car and van space shall have surface
 6     identification complying with either of the following options: The outline of a profile
 7     view of a wheelchair with occupant in white on a blue background a minimum 36” wide
 8     by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 9     of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
10     length of the parking space and its lower side or corner aligned with the end of the
11     parking space length or by outlining or painting the parking space in blue and outlining
12     on the ground in white or a suitable contrasting color a profile view of a wheel chair with
13     occupant. See CBC § 11B-502.6.4, et seq.
14           28.    Here, Defendants failed to maintain the International Symbol of
15     Accessibility painted on the surface as required, resulting in the markings becoming
16     severely faded, hindering visibility.
17           29.    Under the 1991 Standards, parking spaces and access aisles must be level
18     with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
19     Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
20     shall be part of an accessible route to the building or facility entrance and shall comply
21     with 4.3. Two accessible parking spaces may share a common access aisle. Parked
22     vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
23     and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
24     directions. 1991 Standards § 4.6.3.
25           30.    Here, the access aisle is not level with the parking spaces. Under the 2010
26     Standards, access aisles shall be at the same level as the parking spaces they serve.
27     Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
28




                                               COMPLAINT - 8
     Case 2:25-cv-05406-GW-MAA         Document 1     Filed 06/13/25    Page 9 of 13 Page ID #:9




 1     to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 2     2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 3           31.      A public accommodation shall maintain in operable working condition those
 4     features of facilities and equipment that are required to be readily accessible to and usable
 5     by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6           32.      By failing to maintain the facility to be readily accessible and usable by
 7     Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8     regulations.
 9           33.      The Business has denied and continues to deny full and equal access to
10     Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11     discriminated against due to the lack of accessible facilities, and therefore, seeks
12     injunctive relief to alter facilities to make such facilities readily accessible to and usable
13     by individuals with disabilities.
14                                   SECOND CAUSE OF ACTION
15                       VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16           34.      Plaintiff incorporates by reference each of the allegations in all prior
17     paragraphs in this complaint.
18           35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19     state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20     national origin, disability, medical condition, genetic information, marital status, sexual
21     orientation, citizenship, primary language, or immigration status are entitled to the full
22     and equal accommodations, advantages, facilities, privileges, or services in all business
23     establishments of every kind whatsoever.”
24           36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25     or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26     for each and every offense for the actual damages, and any amount that may be
27     determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28     amount of actual damage but in no case less than four thousand dollars ($4,000) and any



                                               COMPLAINT - 9
     Case 2:25-cv-05406-GW-MAA         Document 1 Filed 06/13/25        Page 10 of 13 Page ID
                                              #:10



 1    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2    person denied the rights provided in Section 51, 51.5, or 51.6.
 3          37.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5    shall also constitute a violation of this section.”
 6          38.    The actions and omissions of Defendants alleged herein constitute a denial
 7    of full and equal accommodation, advantages, facilities, privileges, or services by
 8    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10    51 and 52.
11          39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13    damages as specified in California Civil Code §55.56(a)-(c).
14                                   THIRD CAUSE OF ACTION
15                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16          40.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19    entitled to full and equal access, as other members of the general public, to
20    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25    places of public accommodations, amusement, or resort, and other places in which the
26    general public is invited, subject only to the conditions and limitations established by
27    law, or state or federal regulation, and applicable alike to all persons.
28




                                             COMPLAINT - 10
     Case 2:25-cv-05406-GW-MAA        Document 1 Filed 06/13/25        Page 11 of 13 Page ID
                                             #:11



 1          42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2    corporation who denies or interferes with admittance to or enjoyment of public facilities
 3    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5    the actual damages, and any amount as may be determined by a jury, or a court sitting
 6    without a jury, up to a maximum of three times the amount of actual damages but in no
 7    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8    determined by the court in addition thereto, suffered by any person denied the rights
 9    provided in Section 54, 54.1, and 54.2.
10          43.    California Civil Code § 54(d) specifies, “a violation of the right of an
11    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12    constitute a violation of this section, and nothing in this section shall be construed to limit
13    the access of any person in violation of that act.
14          44.    The actions and omissions of Defendants alleged herein constitute a denial
15    of full and equal accommodation, advantages, and facilities by physically disabled
16    persons within the meaning of California Civil Code § 54. Defendants have
17    discriminated against Plaintiff in violation of California Civil Code § 54.
18          45.    The violations of the California Disabled Persons Act caused Plaintiff to
19    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20    statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                 FOURTH CAUSE OF ACTION
22                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23          46.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          47.    Plaintiff and other similar physically disabled persons who require the use of
26    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27    such facility is in compliance with the provisions of California Health & Safety Code §
28




                                            COMPLAINT - 11
     Case 2:25-cv-05406-GW-MAA         Document 1 Filed 06/13/25       Page 12 of 13 Page ID
                                              #:12



 1    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2    provisions of California Health & Safety Code § 19955 et seq.
 3           48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4    that public accommodations or facilities constructed in this state with private funds
 5    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6    Title 1 of the Government Code. The code relating to such public accommodations also
 7    require that “when sanitary facilities are made available for the public, clients, or
 8    employees in these stations, centers, or buildings, they shall be made available for
 9    persons with disabilities.
10           49.    Title II of the ADA holds as a “general rule” that no individual shall be
11    discriminated against on the basis of disability in the full and equal enjoyment of goods
12    (or use), services, facilities, privileges, and accommodations offered by any person who
13    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14    Further, each and every violation of the ADA also constitutes a separate and distinct
15    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16    award of damages and injunctive relief pursuant to California law, including but not
17    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                    FIFTH CAUSE OF ACTION
19                                          NEGLIGENCE
20           50.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22           51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24    to the Plaintiff.
25           52.    Defendants breached their duty of care by violating the provisions of ADA,
26    Unruh Civil Rights Act and California Disabled Persons Act.
27           53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28    has suffered damages.



                                             COMPLAINT - 12
     Case 2:25-cv-05406-GW-MAA        Document 1 Filed 06/13/25       Page 13 of 13 Page ID
                                             #:13



 1                                     PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3    Defendants as follows:
 4          1.     For preliminary and permanent injunction directing Defendants to comply
 5    with the Americans with Disability Act and the Unruh Civil Rights Act;
 6          2.     Award of all appropriate damages, including but not limited to statutory
 7    damages, general damages and treble damages in amounts, according to proof;
 8          3.     Award of all reasonable restitution for Defendants’ unfair competition
 9    practices;
10          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11    action;
12          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13          6.     Such other and further relief as the Court deems just and proper.
14                               DEMAND FOR TRIAL BY JURY
15          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16    demands a trial by jury on all issues so triable.
17
18    Dated: June 13, 2025                    SO. CAL. EQUAL ACCESS GROUP
19
20
21                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
22                                                   Attorneys for Plaintiff
23
24
25
26
27
28




                                            COMPLAINT - 13
